UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TENNESSEE _
lilli§ .»‘Ll'§ QL! 53 312Ll

 

 

 

 

 

 

 

 

y AT
L\s~'\\\.w3 mm >
\ §
)
Name of plaintiff (s) §
V_ § Case No.(t$;l% ‘ cv 'd$b§(l:'l k)
. o e assi ne er
l\l.e\.or\\ Yzmr\c\% § qy@¢p/g@mjjpn
§
Name of defendant (s) §
COMPLAINT

l. A Short and plain statement of the grounds for filing this case in federal court (include federal
statutes and/or U. S Constitutional provisions, if you know them):

\€><\ ad HOMQSW/r\i Cwoc\\ D\%Cr\…mi”`lw molaan
W\/l€V T\)rl€ \/'l"l ®§ d/\\€(`;\\f\\ R\al\f€ §G\‘®f lwle

 

 

 

 

2. Plaintiff, Q§l\\ \€\,(D \/\G\"(`l§ \ h resides at
§§ §§ 'Rm So\ \MSth€ Qz>l , Fr\@nrl§\/i l le

street address) . city

lamar ,T\\\ , mm ,%lp§~lm€\-oszu .
county state zip code telephone number

(if more than one plaintiff, provide the same information for each plaintiff below)

 

 

Case 3:18-cv-00351-.]RG-HBG Document 2 Filed 08/24/18 Page 1 of 3 Page|D #: 11

3. Defendant, l\|F l/tl-F l l_ RYM Y\Cl§ _ lives at, or its business is located at

 

 

lltl'l W\l_l\a\r\?\\oc\r\t DF, , l\'lh‘(u\nll€ ,
street address \-l city
fe \OL\(\JV , TN , fng l
county state zip code

(if more than one defendant, provide the same information for each defendant below)

 

 

 

 

4. Short and plain statement of your claim (state as briefly as possible the facts of your case and
how each defendant ls involved. You may use additional paper if necessary):

111 ittth lClla 111l\1l€, 11n0l11ueal 1111 l\l111)e||l§1¢1ml< l 11)11§ 3€)111/1llj
hara<€€/,l 0111/.\ 111011101~1')1)r111tl1)1 tr111he1l bn mam§191"1 la1mcl1tn11 l
W(‘flv€¢l S€><1111ll11 11111001,111h111t11 text Wl€§§a.//lé§ fmha 3110@1\11§0F lwst
l\l( l\lr/ll111~1$. tollm,)ma l was D\§Cw‘mth/l 11611111'1<t ll11 .l)€u“g /,ll§N{)llYt€Ci
1501 111§11111 th1 W§tr/)Qm?

 

 

 

 

 

 

Case 3:18-cv-00351-.]RG-HBG Document 2 Filed 08/24/18 Page 2 of 3 Page|D #: 12

5. A demand for judgment for the relief you seek (list What you want the Court to do):

a. t111\1\)l1)1111\111t Re`m§tatrmmt 11)1111 11111<1)11111

 

b. \ll‘/L‘§O,OOO.L 111 Dawmj€$

 

 

 

 

 

l (We) hereby certify under penalty of perjury that the above complaint is true to the best of
my (our) information, knowledge and belief.

Signed this ZL[ 411 day of _D_fl,l_g l/l,$'l' , 2016_.
gill l\Q/u@f<l>l</M/l./d

 

 

 

Signature of plaintiff (s)

Case 3:18-Cv-OO351-.]RG-HBG Document 2 Filed 08/24/18 Page 3 of 3 Page|D #: 13

